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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

KAREEM BYNUM,                             )
an individual,                            )
                                          )
              Plaintiff,                  )
vs.                                       )                  CASE NO. 1:13-cv-185
                                          )
WASHINGTON PLAZA ASSOCIATES, LP,          )
an Indiana Limited Partnership,           )
                                          )
              Defendant.                  )
__________________________________________)

                                          COMPLAINT

       Plaintiff, KAREEM BYNUM through his undersigned counsel, hereby files this

Complaint and sues WASHINGTON PLAZA ASSOCIATES, LP, an Indiana Limited

Partnership, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, KAREEM BYNUM, (hereinafter referred to as “MR. BYNUM”), is a

resident of Florida.




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        4.      KAREEM BYNUM is a qualified individual with a disability under the ADA and

Florida Statutes. In 2003, MR. BYNUM suffered a gunshot wound to his back resulting in

trauma to his T4 and T5 vertebrae which resulted in his paralysis from the waist down.

        5.      MR. BYNUM’s disability, at all times material hereto, impairs his ability to walk

and stand, a major life activity, and requires him to use a wheelchair to ambulate.

        6.      Defendant WASHINGTON PLAZA ASSOCIATES, LP, (hereinafter referred to

as “WASHINGTON PLAZA” or “DEFENDANT”) is an Indiana Limited Partnership registered

to do business in the State of Indiana. Upon information and belief, WASHINGTON PLAZA is

the owner, lessee, and/or operator of the real property and improvements, a shopping plaza,

which is the subject of this action, to wit: the “Property” Washington Plaza, generally located at

10030 E. Washington Street, Indianapolis, Indiana 46229.             Defendant is responsible for

complying with the obligations of the ADA.

        8.      All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                        COUNT I - VIOLATION OF TITLE III OF THE
                          AMERICANS WITH DISABILITIES ACT

        9.      Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

        10.     The Property is a shopping center and is open to the public and provides goods

and services to the public.

        11.     Plaintiff MR. BYNUM visited the Property numerous times and has attempted to

utilize the facilities offered at the Property.

        12.     Plaintiff MR. BYNUM often visits Indianapolis, Indiana to see his friends and

family who reside there.


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        13.     While at the property, MR. BYNUM experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed herein.

        14.     MR. BYNUM continues to desire to visit the Property, but fears that he will

continue to encounter serious difficulty due to the barriers discussed herein, which still exist.

        15.     MR. BYNUM plans to and will visit the Property in the near future to utilize the

goods and services offered thereon.

        16.     Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et

seq. and is discriminating against the Plaintiff due to, but not limited to, its failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

                A.      Plaintiff encountered difficulty parking throughout the Property, especially

                        near Tires Plus and JoAnn Fabrics, due to parking designated as accessible

                        containing excessive slopes;

                B.      Plaintiff encountered difficulty parking throughout the Property, especially

                        near Tires Plus and JoAnn Fabrics, due to parking designated as accessible

                        on pavement that is in severe disrepair; and

                C.      Plaintiff experienced inaccessible curb cuts throughout the Property

                        including, but not limited to, those near JoAnn Fabrics and Tires Plus, due

                        to excessive slopes, steep side flares, and failure to provide a smooth

                        transition and level landing.

        17.     Defendant either does not have a policy to assist people with disabilities or refuse

to enforce such a policy if it does exist.



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       18.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       19.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendant.

       20.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       21.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and useable by individuals with

               disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures.




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     D.    That the Court award reasonable attorneys’ fees, costs (including

           expert fees), and other expenses of suit, to the Plaintiff; and

     E.    That the Court awards such other and further relief as it deems

           necessary, just and proper.



                                                  Respectfully Submitted,


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                                          By:     /s/ Eric C. Bohnet            .




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